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01400-55932{RER}

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
EASTERN D|V|S|ON

 

BETTY FRosT
PLAlNTlFF,
vs. No. 1-04-1155-TIAN

ALLSTATE lNSURANCE CON|PANY

DEFENDANT.

 

JO|NT PRE-TRiAL ORDER

 

Come now the parties, and submit this Joint Pre-Tria| Order as follows:
|. JURISD|CT|ONAL QUEST|ONS
Jurisdiction is not disputed at this time, the matter having been removed to the
United States District Court for the VVestern District of Tennessee, Eastern Division, at
Jackson, With jurisdiction conferred under 28 U.S.C. § 1332 in that a diversity of Citizenship
exists and the amount in controversy herein is more than 375,000.00.
||. PEND|NG MOT|ONS
A. P|aintiff's Pending N|otions
None.
B. Defendants' Pending Motions
None,
l||. CONTENT|ONS OF THE PART|ES

A. P|aintift‘s Contentions

This document entered on the docket sheet in compllance

with Rule 58 and,'or_?$ (a) FHCP on _, 03`- 43 ` 05

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Plaintiff contends that her home, located at 3322 Char|ie Pounds Road, Stantonvi||e,
Tennessee (“the home”), was covered for losses resulting from fire under Allstate Deluxe
Homeowners Policy number 930223474. Further, Plaintiff contends that the insurance
policy covering fire losses was in full force and effect on l\/larch 29, 2003. Plaintifi maintains
that a fire occurred at the home on i\/larch 29, 2003 Whlch destroyed and/or damaged the
property rendering the property and the contents virtually worthless. Plaintiff contends that
she gave proper notice of the loss to Defendant Allstate insurance Company, that she
property performed all policy requirements and fully cooperated with Allstate insurance
Company subsequent to the loss. Additionally, Plaintiff contends that she did not
intentionally burn her property, nor did she procure any individual to burn the horne and its
contents. Plaintiff maintains that she is entitled to all proceeds under the policy of
insurance at issue, and that Defendant Allstate insurance Company’s denial of her claim
was wrongfu|.

B. Defendants’ Contentions

Defendant contends that it is not liable to Plaintiff for any sum under the policy of
insurance at issue for the reason that P|aintiff intentionally burned or procured the burning
of the insured premises which is a complete and absolute defense to paymenth Plaintiff’s
claim. Defendant further contends that P|aintiff intentionally concealed or misrepresented
material facts to Defendantl As such, the policy of insurance at issue is void and no sums
are owing under the policy. Additionally, Defendant contends that as part of its obligation
under the policy of insurance and the laws of the State of Tennessee, it has made payment
tothe properly noted mortgage holder ofthe insured premises in the amount of $42,589.32,

which amount should be credited to Defendant if it is fact found to be liable to Piaintiff for

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any sum.
iV. SPEC|F|C FACTS ST|PULATED TO BY THE PARTiES
A. The contract of insurance Was in full force and effect at the time of the fire
loss at issue.
B. A||state insurance Company paid the properly noted mortgage holder of the
insured premises the amount of $42,589.32.
C. Plaintiff submitted a Sworn Statement in Proof of Loss to Defendant Al|state
insurance Company.
D. Plaintiff had paid all premiums due on the policy at the time of the fire loss.
IV. CONTESTED lSSUES
A. Contested issues of Fact
1. Did Plaintifi intentionally cause or direct the burning of the insured
premises'?
2. Did Plaintiff intentionally conceal or make misrepresentations as to
material facts?
3. Whether Defendant is liable to Piaintiff under the terms of the
insurance policy that was in full force and effect?
B. Contested issues of Law
V. EXH|B|TS
A. Plaintiff's Exhibits
Sworn Statement in Proof of Loss
Transcript of Examination Under Oath of Betty Frost
Transcript of Examination Under Oath of Ronnie Surratt

Personal Property inventory Forms
Letter from Ailstate insurance Company, dated June 19, 2003, denying

.U‘P.°°.N.'*

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claim.
6.

Copy of Applicabie Ailstate insurance Company Ailstate Deluxe

Homeowners Po|icy

7.
8.
9.
10.

Ailstate insurance Company Form Number A172831

Ailstate insurance Company Authorization

Ailstate insurance Company Non-Waiver Agreement-Property Lines
Photographs-Provided by Defendant

B. Defendants‘ Exhibits

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VI. W|TNESSES

Examination Under Oath of Betty Frost taken on i\/|ay 6, 2005
E)<amination Under Oath of Ronnie Surratt taken on ivlay 6, 2005
Deed of Trust

Assignment of Deed of Trust

Warranty Deeds

Application for insurance

Ailstate insurance Policy of insurance

911 Report

Jerry Hinson lnvoice, Repairs to Kitchen

Alton Fire Department Report

Stantonville Fire Reports

Sworn Statement in Proof of Loss

inventory and Contents Lists Prepared by Plaintiff

Denial Letter Dated June 19, 2003

Photograph Log of Rick E|ey

Diagram by Rick E|ey

Photographs by Rick E|ey

Photograph Log of Lonnie Buie

Photographs by Lonnie Buie.

A. Piaintiff's Witnesses

1.

Will Call - The following witnesses Will be called by Plaintitf:
(a) Betty Frost.

Nlay Call - The following witnesses may be called by Plaintiff:
(a) Ronnie Surratt,

(b) Rick Weichl

(c) A representative of Option One l\/lortgage.

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B. Defendant's Witnesses
1. Will Call - The following witnesses will be called by Defendants:
(a) Betty Frost,

(b) Ronnie Surratt.

2. i\/lay Call - The following witnesses may be ca|ied by Defendants:
(a) Rick E|ey,
(b) Lonnie Buie,
(c) Scott Griffen,
(d) Rlcky Surratt,
(e) David Johnson,
(f) Rick Welch
(g) Representative of Ailstate insurance Company.
in the event any additional witnesses or exhibits are to be offered, the party
intending to offer the witnesses or exhibits shall notify opposing counsel as soon as
possible prior to trial. in the case of additional witnesses, the notification shall include their
names and addresses and the general subject matter of their testimony. in the case of
additional exhibits, a description of the contents shall be provided. Any party seeking to
add additional witnesses or exhibits, must show good cause for the omission of the
witnesses or exhibits from this Order.
The above notification requirements shall not apply to rebuttal witnesses and
exhibits which could not reasonably have been anticipated prior to trial. lt is anticipated that

the trial will last two (2) to four (4) days.

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if is so oRDERED this the Q 5 day of &{/W , 2005.

JAMEs{/d. ToDD, JuDeE
APPRova ron ENTRY:

By:j/,l/"Lr”'1 %Li¢/zzj/ W ?j/“ /' 5ij de
T;ERRY ABERNATHY t j
Attorney for Piaintiff
P.O. Box 441
Selmer, TN 38375

 

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By:,,#~» ' ¢/ /7/-- '5'°77" '><C~Z» / “/,'/ /”’g ¢’;;l,?U‘/')
’ RussELL E. REV|ERE“(BPR #'0716'6)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:04-CV-01155 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

ESSEE

 

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Ronnie Brooks

McNairy Cty Criminal Justice Ctr.
300 Industrial Park Dr.

Selmer7 TN 38375

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

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Honorable .1 ames Todd
US DISTRICT COURT

